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Exhibit 50
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EXPERT REPORT OF Dr. MICHAEL J. McLEAN

BACKGROUND AND QUALIFICATIONS:
My name is Michael J. McLean, M.D., Ph.D. I am currently an Associate Professor of
Neurology at Vanderbilt University Medical Center in Nashville, Tennessee. I am also a

board-certified Neurologist licensed to practice medicine in the state of Tennessee.

I received a Bachelor’s degree in Biology from the University of Chicago (Chicago,
Illinois) in 1970. I completed training in the combined M.D./Ph.D. Program at the
University of Virginia (Charlottesville, Virginia). The degree of Ph.D. in Physiology was
conferred in 1976 and the M.D. degree was conferred in 1978. I trained in Internal
Medicine at Vanderbilt University Medical Center from 1978-1980 and then completed
residency training in Neurology at the University of Michigan Hospital (Ann Arbor,
Michigan; 1980-1983). I have been in the Department of Neurology at Vanderbilt
University since 1986. The chronology of postdoctoral training and academic

appointments appears in my curriculum vitae (see appendix).

My laboratory research has involved the study of antiepileptic drug mechanisms of action
and the potential for using magnetic fields in the treatment of epilepsy and pain. I have
been involved in clinical trials of antiepileptic drugs. I currently am evaluating potential
therapeutic effects of static magnetic field devices in patients with epilepsy. My clinical
practice predominantly includes epileptic patients and patients with refractory

neuropathic pain.
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I have published manuscripts in such peer-reviewed, basic science and epilepsy journals
as the Journal of Pharmacology and Experimental Therapeutics, the European Journal of
Pharmacology, Epilepsy Research and Epilepsia. Some of my dissertation research was
published in Science, one of the most respected journals in science and medicine. I was
also co-author of a consensus guidelines in the Mayo Clinic Proceedings concerning
treatment of diabetic neuropathic pain. Cellular electrophysiological studies in my
laboratory have included the use of the following antiepileptic drugs: phenytoin;
carbamazepine and its active epoxide metabolite; valproic acid and its trans-2-en
metabolite; topiramate; gabapentin; pregabalin; and, investigational antiepileptic drugs,

including rufinamide, MK-801, remacemide, ralitoline and memantine.

I have been involved in clinical studies of gabapentin that resulted in publications in peer-
reviewed journals and epilepsy textbooks. I was a subinvestigator in the pivotal US trial
of gabapentin as add-on therapy in refractory partial epilepsy. I was one of several
principal investigators of a large, open-label, multi-center, phase IV study of gabapentin,
known as STEPS. I was first author on a publication in the journal Epilepsia in 1999
concerning the safety and tolerability of gabapentin. I was co-author of a manuscript
published in the journal Seizure in 2000 concerning efficacy of gabapentin. I have
authored or co-authored five invited reviews of clinical aspects of gabapentin use and

four book chapters. My CV lists my publications and further reflects my background.

I have lectured nationally and internationally at epilepsy society meetings about cellular

mechanisms of action and clinical features of antiepileptic drugs and about treatment of
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neuropathic pain with antiepileptic drugs. I have been an ad hoc grant reviewer for the
National Institutes of Health (Epilepsy Branch of National Institute for Neurological
Disease and Stroke and National Centers for Complementary and Alternative Medicine).
Also, I have reviewed manuscripts for a number of peer-reviewed journals such as
Epilepsia, Neurology, Journal of Pharmacology and Experimental Therapeutics,

Epilepsy Research, European Journal of Pharmacology, et al.

Tam being compensated at a rate of $450 per hour for this review. All of the opinions set
out herein are stated to a reasonable degree of medical/scientific certainty. I have not

testified as an expert witness in the past four years.

INTRODUCTION:

It is my opinion that gabapentin at doses greater than 1800 mg/d can be effective in
treating patients for epilepsy or pain for whom the medicine is not effective, or is less
effective, at lower doses. I base this conclusion on my years of clinical experience
prescribing gabapentin, the experience of my colleagues, the research I have done and a

review of the medical literature.

I have been asked to review and comment on the expert report of Brian Alldredge,
PharmD, in which he addresses the question, “Is there evidence for enhanced efficacy of
gabapentin at doses > 1800 mg per day?” In answering in the negative, he considers dose
proportional efficacy primarily from a regulatory, as opposed to a clinical, perspective.

This perspective has limited application in clinical practice.
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The primary purpose of dose-response analysis of the type discussed by Dr. Alldredge is
to support an approval for marketing, not to determine what dose physicians should
prescribe in treating individual patients in real-life clinical practice. Proper dosing of
gabapentin is a complex and highly individualized matter because this medicine’s
pharmacokinetics are such that the absorption is non-linear over a range of doses, and
further the rate and amount of absorption can differ significantly between individuals.
Therefore, the clinical trials provide a range of doses in which efficacy for individual
patients can be expected to occur; however, dose proportionality in such studies cannot

predict the most effective dose for every single patient.

Furthermore, gabapentin is reported to be associated predominantly with mild-to-
moderate adverse events (e.g., somnolence and dizziness) and no known organ toxicities,
life threatening or otherwise. Gabapentin is often selected for patients with organ
transplants because of this margin of safety. As such, it is good medical practice to titrate
to maximal efficacy. This practice is also appropriate for dosing gabapentin because it is
so difficult to determine a priori how well an individual patient will absorb gabapentin

and hence what dose will lead to the greatest efficacy.

As set out below, the implication by Dr. Alldredge that dose-proportional efficacy is the
principal determinant of dosing for individual patients in clinical practice is a fallacy that
ignores the challenges of clinical practice. His argument that group-averaged data from

randomized, placebo-controlled clinical trials have established and delimited the useful
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range of doses in clinical practice is also a fallacy and misses the point. In the clinical
setting, dosing does not involve forced titration, as is commonly done in studies designed
to demonstrate dose proportionality. Instead, doses are tailored to the individual patient.
Optimization on an individual basis is the rule for gabapentin. Having confidence in the
broadly recognized safety of gabapentin, the tactical question facing prescribers is, “What
is the highest tolerable dose necessary to treat my patient effectively?” My report
discusses these issues and concludes that gabapentin is a safe medication; it can be
titrated to doses greater than 1800 mg/d safely; and, further, that randomized controlled
trials and other studies have shown that efficacy can increase at doses above 1800 mg/d.
Some of the reasons for my opinions are summarized in the following numbered

paragraphs:

(1) To a neurologist caring for patients with epilepsy and pain, dose proportionality
shown in studies for regulatory approval is important for believing that a medication may
be effective, but efficacy for an individual patient can only be determined by carefully
exploring a broad range of safe, tolerable doses. The focus of Dr. Alldredge’s attention
on dose proportionality as it relates to efficacy does not account for the complexity of
selecting doses in the clinical setting and oversimplifies assessment of a drug’s
effectiveness. Once a medication is approved for marketing, “dose proportionality of
efficacy” (contributing to proof of efficacy) is replaced by “titration to effect or limiting
side effects” (the basis for individually optimized dosing) as the operating principle for

dosing.
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The management of patients with epilepsy and pain is complex and treatment with
currently available medications may not result in the desired degree of benefit. The
outcome of treating patients with such conditions in office practice is unpredictable even
with medications that have been in clinical use for years. Side effects are common and
organ toxicities must be anticipated with many available antiepileptic medications.
Dosing can be complicated and may require a series of adjustments over a substantial
period of time to achieve maximum benefit. It may take many months to achieve
maximum benefit with a single antiepileptic medication and side effects may prevent
achieving this. If one medication fails, another must be tried, and so on, until the best

result is obtained. It may take several medications and years of trying to achieve this goal.

(2) There is evidence of efficacy of gabapentin at doses higher than 1800 mg/d in the
medical literature related to epilepsy and pain. But, Dr. Alldredge dismisses that evidence
because the data were not derived from large, blinded, randomized trials specifically
designed to assess dose proportionality. Much has been learned since gabapentin was
approved for marketing, and that information has been published in the peer reviewed
medical literature that guides physicians/prescribers through a complex decision making
process with the goal of helping patients. Interpretation of published evidence, judgment
and experience are required to develop effective approaches to treatment. The entire
medical literature - not just large, randomized controlled trials - is important in guiding

this process.
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(3) Outcome measures in clinical trials can be artificial. For example, efficacy is often
expressed in terms of responder rate, i.e. the proportion of patients who experience 50%
or more reduction of seizures. One study subject may experience 70% decrease, another
51% decrease; yet, both are considered to be responders. In clinical practice the goal is
complete seizure control. Complete seizure control is achieved in only a small percentage
of patients/subjects in the course of clinical trials. If complete seizure control were the
standard, it is difficult to believe that any new antiepileptic drugs would be approved.

In pain studies, reduction of pain from baseline intensity often is expressed in terms of
units on a linear pain scale. Extensive research was needed to validate the use of linear
scales as measures of treatment effects for studies of pain. Part of the problem is that pain
is not a unidimensional (linear) experience and pain reduction measured by linear scales
has not been correlated with functional improvement in pivotal trials. Thus, linear pain
scales are to a certain extent artificial to make them useful for study purposes. In practice,
patients desire adequate pain reduction so that they can do whatever they want in their

daily lives without limitation by pain.

(4) Likewise, in pivotal trials for regulatory consideration, the effect of dose is
determined by forced titration of study subjects to the specific dose of the study
medication or placebo to which they were randomly assigned. Data from each treatment
group are presented as mean and standard error or standard deviation. In clinical practice,
outcomes are not expressed as average values for a group of patients. Patients are treated

one at a time. Benefits are determined on an individual basis. Dosing is individualized to
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achieve maximal efficacy, minimal side effects and improved quality of life. Forced

titration is not performed in outpatient clinical practice.

(5) Finally, the patient pool in clinical trials differs from the population that will be
treated in the setting of office practice after regulatory approval. Patients in trials of
potential antiepileptic medications have seizures that are refractory to a variety of
existing medications and many of these subjects have been involved in other clinical
trials. Patients with refractory seizures, however, represent only about one third of
patients with epilepsy (Kwan P and Brodie MJ. New England Journal of Medicine 2000;
342: 314-319). In practice, when treating the two-thirds of patients with non-refractory
epilepsy, systematic dose-ranging on an individual basis with new or old antiepileptic
medications is required so that a potentially beneficial agent is not discarded without

maximal effort to make it work.

GABAPENTIN FOR SEIZURE CONTROL AND PAIN:

Gabapentin was approved as adjunctive treatment for patients with partial seizures.
Gabapentin also has been approved for treatment of postherpetic neuralgia, the pain that
persists after healing of a shingles rash. It also has been studied for painful diabetic
neuropathy in which the pain is caused by metabolic injury to nerves in the limbs, as well

as other conditions.

To meet standards for approval, gabapentin was shown to be safe and effective in a range

of doses that appear in the labeling. Once approved for marketing, practitioners and
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clinician scientists began to obtain experience with gabapentin in patients in the general
population and in different kinds of studies. Manuscripts published in the medical
literature contain data derived from this experience. These publications constitute

evidence-based medicine that can be used to guide clinical decision making.

In clinical practice, titration to effect or to the point of limiting side effects is an accepted
and frequently-taught method of treatment with antiepileptic medications for all their
approved uses. This differs from the forced titrations used in regulatory studies that are
designed to detect a dose-response relationship between drug dose and an outcome
measure. Although in selected cases high initial doses may be used, gabapentin often is
started at a lower dose in addition to other medications the patient is already taking. The
dose is gradually increased over weeks to months in an effort to achieve the greatest
possible benefit. The patient and prescriber work together in the process of titrating to
optimize outcome. Maintenance doses vary widely from patient to patient. Complete
control of seizures or pain often cannot be achieved despite dose adjustments. Before
abandoning a potentially beneficial medication, it is essential to explore a wide range of
doses, including the highest dose in the package insert or even beyond, if the patient

tolerates it safely.

THE NEURONTIN PACKAGE INSERT:

The following information is contained in the current Neurontin Package Insert:
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“Postherpetic Neuralgia

In adults with postherpetic neuralgia, Neurontin® therapy may be initiated as a single
300-mg dose on Day 1, 600 mg/day on Day 2 (divided BID), and 900 mg/day on Day 3
(divided TID). The dose can subsequently be titrated up as needed for pain relief to a
daily dose of 1800 mg (divided TID). In clinical studies, efficacy was demonstrated over
a range of doses from 1800 mg/day to 3600 mg/day with comparable effects across the
dose range. Additional benefit of using doses greater than 1800 mg/day was not

demonstrated.

“Epilepsy

Neurontin® is recommended for add-on therapy in patients 3 years of age and older.
Effectiveness in pediatric patients below the age of 3 years has not been established.
Patients >12 years of age: The effective dose of Neurontin® is 900 to 1800 mg/day and
given in divided doses (three times a day) using 300 or 400 mg capsules, or 600 or 800
mg tablets. The starting dose is 300 mg three times a day. If necessary, the dose may be
increased using 300 or 400 mg capsules, or 600 or 800 mg tablets three times a day up to
1800 mg/day. Dosages up to 2400 mg/day have been well tolerated in long-term clinical
studies. Doses of 3600 mg/day have also been administered to a small number of patients
for a relatively short duration, and have been well tolerated. The maximum time between

doses in the TID schedule should not exceed 12 hours.”

Thus, the package insert includes doses higher than 1800 mg/d up to 3600 mg/d. The

FDA presumably would not have included this language if there were no utility of doses

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greater than 1800 mg/d for any patient. This is an implicit recognition that it may be
appropriate to prescribe doses above 1800 mg/d even though the label also notes that
doses above 1800 mg/d were not shown to provide additional efficacy in the pivotal trials.
Moreover, at 3600 mg/d, gabapentin (Neurontin) was safe (implicit in the requirements

for safety to acquire FDA’s approval), and tolerable.

THERAPEUTIC DECISION MAKING:

In order to provide the best possible patient care, clinicians can refer to the peer-reviewed
medical literature to assist them in making clinical decisions. Peer review is considered
critical to establishing a reliable body of research and knowledge. Peer review is a
process whereby experts in the field evaluate articles under consideration for publication.
Data in the peer-reviewed medical literature is acquired by a variety of approaches.
Studies with an impact on clinical decision making include randomized, placebo
controlled trials, dose-controlled studies, open-label studies, cohort studies, case control
studies, observational studies and case series. Evidence-based medicine aims to make
medical decision-making more deliberate and methodical. The evidence based approach
involves a critical appraisal of the medical literature, including data from the pivotal
trials; formulation of the question to be answered by the research; and, integration of the
research into clinical practice. The utility of evidence obtained in different ways is
determined by such elements as study design and outcome measures. Evidence-based
medicine attempts to assign levels of confidence in the data and in conclusions and
recommendations that can be drawn from them. A variety of schemata have been

developed to assist in the evaluation of different types of information and stratify them by

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quality. The different types of information include (1) evidence derived from one or more
randomized placebo-controlled trials; (2) evidence from well-designed controlled trials
without randomization or from cohort or case-controlled studies, preferably from
multiple centers; and, (3) evidence consisting of expert opinion based on clinical

experience in the form of reviews or committee reports.

Papers representing each of these categories appear in peer-reviewed publications.
Ultimately, it is the task of practitioners to blend data from studies of different design and
quality with one’s own clinical experience to formulate therapeutic decisions for
individual patients. This process of amalgamation accounts for variability in solutions
reached by different practitioners. The distillation of certain practices from the experience

of many practitioners results, in effect, in standards of care.

In clinical practice, circumstances are very different from those of trials for approval and
dosing is a process, not a predetermined quantity. Several overriding criteria must be
considered in therapeutic deliberations. These include safety (serious and potentially life
threatening adverse effects and organ failure), tolerability (dose-related adverse effects)
and efficacy (degree of reduction of seizures or pain). As the dose is increased, a number
of outcomes may occur: (1) there may be no efficacy and no side effects in the range
tested; (2) there may be a desired level of efficacy without limiting (of such intensity as
to stop further dose increments) side effects; (3) there may be the desired degree of
efficacy with intolerable side effects; or, (4) there may be less than the desired degree of

efficacy at tolerable, marginally tolerable or intolerable doses. In effect, the process of

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titration results in determining the dose-response relationship in a single individual. In the
mental calculator of the practitioner, the observed outcomes determine whether further
titration is justified. At any time, a medication can be stopped due to safety concerns.
With gabapentin, safety and tolerability afford the ability to explore a wide range of
doses in an attempt to optimize dosing on an individual basis. When gabapentin was
introduced, it was the newest medication available to treat patients with refractory
epilepsy. With no other new medications to try, gabapentin doses above 1800 mg/d were

prescribed for many patients.

Developing and testing new antiepileptic medications has been based on need. This
drove the development of the “new” antiepileptic drugs that began to appear in the 1990s
up until the present. The first “new” antiepileptic medication, felbamate, was introduced
in 1992, more than a decade after valproic acid. About a year after FDA approval, life-
threatening aplastic anemia and hepatic failure were recognized in association with
felbamate. Felbamate is still marketed, but safety concerns have limited its use.
Gabapentin (Neurontin) was approved in 1993. It rapidly gained a reputation for safety
and much of the post-approval effort was oriented toward understanding how to use
gabapentin to maximum benefit. This included combining information from the pivotal
trials with additional information, including information published in the medical

literature, about using doses greater than 1800 mg/d for selected individuals.

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~GABAPENTIN PROFILE:

For many antiepileptic drugs, the relationship between dose and blood levels is linear, a
reflection of high oral bioavailability. This is not the case for gabapentin. Gabapentin
absorption depends on the L-amino acid transporter that is localized in the proximal small
intestine. This transporter can be overwhelmed and saturated if the amount of substrate
(e.g., certain amino acids or gabapentin) is greater than the transporter’s carrying capacity.
Any gabapentin not absorbed in the small intestine will be eliminated in the stool.
Gabapentin doses up to 1800 mg/d were studied in the blinded portion of the pivotal trials.
In this range of doses, uptake of gabapentin was linear. At doses above 1800 mg/d,
absorption increased as indicated by rising blood levels, but the increase was less than

expected.

The ability of different patients to absorb and retain gabapentin varies widely. Individuals
seem to absorb gabapentin consistently to either a large or small extent (Gidal et al.,
Epilepsy Research 40: 123-127, 2000). Blood levels can used to determine the extent of
absorption and help optimize dosing on an individual basis. One way to increase
bioavailability, individual absorptive capacity aside, is to divide the total daily dose into
four fractions (QID) instead of three (TID) (Gidal et al., Epilepsy Research 31: 91-99,
1998). In some patients, gabapentin can be efficiently absorbed at doses larger than
recommended in the package insert (up to 4800 mg/d, Berry et al., Seizure 12: 28-36,
2003 and Beydoun et al. Epilepsia 39: 188-193, 1998; up to 6000 mg/d, Wilson et al.,
Epilepsy Research 29:161-166, 1998). Furthermore, the blood level may not fluctuate

significantly between doses, thereby making twice daily dosing (BID) practicable (Berry

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et al., Seizure 12: 28-36, 2003). Such features form the rationale for arriving at different
dose regimens for different patients. Inter-individual variability in absorption of
gabapentin and relatively small differences in blood levels of different dosage groups
probably led to the failure to show dose-proportional efficacy in a study of conversion
from polytherapy to monotherapy with gabapentin (Beydoun et al., Neurology 49: 746-
752, 1997). These factors could also influence the outcome of other studies with
gabapentin for epilepsy or pain. This lesson contributed to the design of future

monotherapy studies based on individual dose-optimization rather than forced titration.

PEER-REVIEWED STUDIES OF GABAPENTIN DOSES GREATER
THAN 1800 MG/D:

In his expert report, Dr. Alldredge dismissed published articles dealing with doses of
gabapentin greater than 1800 mg/d because they did not demonstrate dose-proportional
efficacy. I do not agree that these studies can be dismissed as they are part of the peer-
reviewed medical literature. In addition to randomized controlled trials, large-scale open-
label studies were conducted in the US, Canada, Europe and Australia to obtain
additional information about the safety, tolerability, and efficacy of gabapentin including
doses in excess of 1800 mg/d. The results were published in peer-reviewed medical
journals. Taken together, this body of data shows efficacy, and/or increasing efficacy, and
tolerability of gabapentin doses greater than 1800 mg/d for epilepsy and pain.

See McLean et al., Safety and Tolerability of Gabapentin as Adjunctive Therapy in a
Large, Multicenter Study, Epilepsia 40:965-972, 1999; Morrell et al., Efficacy of
Gabapentin as Adjunctive Therapy In a Large, Multicenter Study, Seizure 9:241-248,

2000; Beran et al., Australian Study of Titration to Effect Profile of Safety (AUS- .

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STEPS): High-Dose Gabapentin (Neurontin) in Partial Seizures, Epilepsia 42: 1335-1339,
2001; Bruni for the NEON Study Investigators Group, Outcome and Evaluation of
Gabapentin as Add-on Therapy for Partial Seizures, Canadian Journal of Neurological
Science 25:134-140, 1998; Baulac et al., Gabapentin Add-on Therapy with Adaptable
Dosages in 610 Patients with Partial Epilepsy: An Open, Observational Study, Seizure
7:55-62, 1998; Wilson et al., High Dose Gabapentin in Refractory Partial Epilepsy:
Clinical Observations in 50 Patients, Epilepsy Research 29: 161-166, 1 998; Bergey et al.,
Gabapentin Monotherapy: I. An 8-day, Double-Blind, Dose-Controlled, Multicenter
Study in Hospitalized Patients With Refractory Complex Partial or Secondarily
Generalized Seizures, Neurology 49: 739-745, 1997; Beydoun et al., Gabapentin
Monotherapy: II. A 26-week, Double-Blind, Dose-Controlled, Multicenter Study of
Conversion from Polytherapy in Outpatients with Refractory Complex Partial or
Secondarily Generalized Seizures, Neurology 49: 746-752, 1997; Beydoun et al.,
Conversion to High Dose Gabapentin Monotherapy in Patients with Medically Refractory
Partial Epilepsy, Epilepsia 39:188-193, 1998; Brodie et al., Gabapentin versus
Lamotrigine Monotherapy: A Double-Blind Comparison in Newly Diagnosed Epilepsy,
Epilepsia 43:993-1000, 2002; Rowbotham et al., Gabapentin for the Treatment of
Postherpetic Neuralgia: A Randomized Controlled Trial, JAMA 280(21):1837-1842,
1998; Rice et al., Gabapentin in Postherpetic Neuralgia: A Randomised, Double Blind,
Placebo Controlled Study, Pain 94:215-224, 2001; Backonja et al., Gabapentin for the
Symptomatic Treatment of Painful Neuropathy in Patients with Diabetes Mellitus: A
Randomized Controlled Trial, JAMA 280:1831-1836, 1998. Concordance between the

results of these and other studies increases confidence in and adds utility to the findings.

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EVIDENCE-BASED CONSENSUS GUIDELINES:

Evidence-based consensus guidelines address the use of gabapentin, among other
medications, for the treatment of neuropathic pain (Dworkin et al., Archive of Neurology
60:1524-1534, 2003; Dworkin et al., Pain 132:237-251, 2007 — prepared under the
auspices of the International Society for the Study of Pain) and painful diabetic
neuropathy (Cole et al., Mayo Clinic Proceedings 81:S1-S32, 2006). In preparing these
guidelines, the authors reviewed results of published, blinded, randomized, placebo-
controlled trials. Recommendations on medications and dosing took into account clinical

effectiveness, adverse effects and improvements in quality of life.

In the review and recommendations by Dworkin et al. (2007), the following is
acknowledged: “The management of patients with chronic NP [neuropathic pain] is
complex and response to existing treatments is often inadequate. Even with well-
established NP medications, effectiveness is unpredictable, dosing can be
complicated, analgesic effect is delayed, and side effects are common...Because of
gaps and controversies in the literature, considerable interpretation of available evidence,
judgment, and experience are required to develop treatment approaches that can be used

in clinical practice.”

“The objectives of this article are to: (1) briefly review the results of RCTs [randomized
controlled trials] examining medications for the treatment of NP; (2) present up-to-date,
evidence-based guidelines for the pharmacologic management of NP that take into

account clinical efficacy, adverse effects, impact on health-related quality of life,

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convenience and costs; and (3) provide specific recommendations for the use of these

medications.”

“... The consensus meeting on which these treatment recommendations are based and the
preparation of this article was conducted under the auspices of the IASP Neuropathic
Pain Special Interest Group...The treatment recommendations in this article have been
endorsed by the American Pain Society, Canadian Pain Society, Finnish Pain Society,

Latinamerican Federation of IASP Chapters, and Mexican Pain Society.”

In the Mayo Clinic Supplement by Cole et al., the reviewers recognized the following:
“...The intent of this working group was to review the existing neuropathic literature,
focus on specific therapies of DPNP [diabetic peripheral neuropathic pain], and establish
a scheme for better patient care. The intended audience included... anyone interested in

helping a population with seemingly few options.”

“It was understood by the group that only two medications were approved for the
treatment of painful diabetic neuropathy, but there were many off-label trials establishing
the efficacy of many anticonvulsant, antidepressant, and analgesic agents. Using the
strength of blind, randomized, placebo-controlled trials, the group weighed the available

evidence and ranked treatments...”

In all three consensus guidelines, recommendations about the use of gabapentin include

dosing to as high as 3600 mg/d in an effort to maximize efficacy.

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OTHER DATA:

Other studies showing efficacy of gabapentin above 1800 mg/d are included in citations
in review articles and book chapters I have written (see curriculum vitae). The
consistency of the data from these sources adds to the experience with gabapentin at

doses above 1800 mg/d.

CLINICAL EXPERIENCE WITH GABAPENTIN:

It is my experience that some patients I have treated with gabapentin did not begin to
benefit until the dose was titrated above 1800 mg/d. Colleagues of mine have told me of
similar results. Also, many of my own patients have not achieved optimum seizure or
pain control with doses less than 1800 mg/d; higher doses were needed and tolerated. I
have prescribed doses of gabapentin greater than 1800 mg/d when necessary because of
the widely recognized safety and tolerability of this medication. Many colleagues have
expressed similar confidence in the safety of gabapentin and arrived at dosing procedures
similar to mine in the context of their own practices of their own accord. My motivation
for prescribing gabapentin has been to control seizures and pain to the greatest extent
possible within the bounds of safety and tolerability to improve the quality of my
patients’ lives. As a physician, I am prepared to use a wide range of doses to accomplish
this end and I am confident in the safety and tolerability of gabapentin in doing so. Also,
asa treating physician, I see my patients for follow up at intervals to reassess safety and
efficacy of their medicines. In the course of follow-up I have continued, adjusted the dose
up or down, or discontinued gabapentin depending on what the individual patient reports.

In my opinion, this approach is consistent with the Hippocratic oath, standards of care

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within the community of physicians using gabapentin to treat patients with epilepsy and

neuropathic pain, findings in the peer-reviewed medical literature and the package insert.

STATEMENTS CITED BY DR. ALLDREDGE:

Dr. Alldredge cites a number of references to statements by me and others about dosing
gabapentin in transcripts of advisory boards and published articles. He calls these
statements misleading. I disagree. All of the statements cited and attributed to me were
accurate and properly made. As pointed out above, I believe the use of gabapentin at
doses higher than 1800 mg/d in selected cases is good medical practice based on the
package insert, peer reviewed medical literature, personal experience, ethical standards of
care and concordance with the practice of colleagues. I arrived at these conclusions on
my own. Trying a broad range of doses is justified further by the widely recognized
safety and tolerability of gabapentin compared to many other medications. Gabapentin is
not a panacea, but, in my experience, it frequently improves seizures and pain in patients

for whom other medicines provided inadequate relief.

Finally, nowhere does Dr. Alldredge state that the available evidence establishes that
there is no dose-response relationship with gabapentin above 1800 mg/d; instead, he
simply concludes that the studies he analyzes fail to prove that such a relationship exists.
The studies discounted by Dr. Alldredge were not designed the way pivotal trials are
designed to assess dose proportionality. Therefore, evidence from clinical practice and

other non-randomized controlled studies showing that doses higher than 1800 mg/d can

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be effective is relevant and useful to clinicians and provides a sound basis for statements

encouraging titration to efficacy.
In preparing this report, I have reviewed the materials identified in the attached appendix.

] reserve the right to expand or modify my anticipated testimony based on additional

literature, materials and opinions offered by other experts in this case.

Michael J. McLean, M.D., Ph.D.
Associate Professor of Neurology
Vanderbilt University Medical Center

2201 Children’s Way, 1222]
Nashville, Tennessee 37212

Date:

 

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Appendices
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M.J. McLean

CURRICULUM VITAE

NAME: Michael John McLean, M.D., Ph.D.

OFFICE ADDRESS: Department of Neurology

Vanderbilt University Medical Center
A-0118 Medical Center North
Nashville, Tennessee 37232-2551

OFFICE PHONE NUMBER: — (615) 936-2591 (Secretary, Mrs. Barbara Page)

OFFICE FAX NUMBER : (615) 936-0223
EDUCATION :
1961-1965 Paris American High School, Paris, France, (1961-1963) and General H.H.

1965-1969

1970-1978

1976-1977

1978-1980

1980-1983

Arnold High School, Wiesbaden, Germany (1963-1965): Valedictorian and
National Merit Scholarship Finalist. Eagle Scout and Brotherhood Member of the
Order of the Arrow (Honor Campers’ Society, Boy Scouts of America).

University of Chicago, Chicago, Illinois: President's Scholar 1965-1969,
B.A. Biology, 1970.

University of Virginia, Charlottesville, Virginia,
Department of Physiology and School of Medicine: Ph.D. Physiology, 1976;
M.D., 1978.

Postdoctoral studies with Dr. Nick Sperelakis, Department of Physiology,
University of Virginia.

Internship and 1st year of residency in Internal Medicine, Vanderbilt
University Hospitals, Nashville, Tennessee.

Residency in Neurology, University of Michigan
Hospitals, Ann Arbor, Michigan.

LICENSURE AND CERTIFICATION :

State of Michigan, February, 1983.
State of Tennessee, July, 1985.

Diplomate, American Board of Psychiatry and Neurology
(#29057), 1987.

ACADEMIC APPOINTMENTS :

1983-1984

Instructor of Neurology, University of Michigan
Medical Center, Ann Arbor, MI.
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M.J. McLean
1984-1985 Assistant Professor of Neurology, University of
Michigan Medical Center, Ann Arbor, MI.
1985- 1993 Assistant Professor, Departments of Neurology,
Psychiatry and Pharmacology University Medical Center,
Nashville, TN.
1989-1993 Assistant Professor of Neurology, Department of Veterans
Affairs Medical Center, Nashville, TN.
1993- Associate Professor, Department of Neurology,
Vanderbilt University Medical Center and Department of
Veterans Affairs Medical Center, Nashville, TN.
1994- Associate Professor, Department of Pharmacology, Vanderbilt University
Medical Center, Nashville, TN
1996- Director, Neuromagnetics Research, Department of Neurology, Vanderbilt

University Medical Center, Nashville, TN.

RESEARCH SUPPORT :

 

1. CIDA 7 KO8 NS00817-03 from NINCDS of U.S. National Institutes of Health: In vitro models of
anticonvulsant drug action. M.J. McLean, Pl. Annual direct costs: $68,760 for Jan. 1, 1986 thru Dec.
31, 1988.

2. Mallinckrodt Scholarship, $150,000, 1985-1988.

3. BRSG grant 27-04: Cellular mechanisms of algesic and analgesic compounds on adult
mammalian sensory neurons in vitro. M.J. McLean, Pl. Total award: $12,492 for Sept. 1, 1988 thru
June, 1990.

4. Grant from the Holcomb Medical Research Foundation: Characterization of sensory neurons in
Cell culture to test magnetic field effects of possible importance in the treatment of pain. M.J. McLean,
principal investigator. Total direct costs: $918,000 for June 1, 1990 to May 31, 1995. Renewed
funding award (1995-indefinite) continues under agreement with the Medical Center.

5. Veterans Administration Merit Review Award: Different sodium currents in subtypes of sensory
neurons in vitro. M.J. McLean, principal Investigator. Total award: $186,500 for Oct. 1, 1990 to Sept.
30, 1993.

6. Grant from Ortho-McNeill: Cellular Mechanisms of Action of Topiramate. Total direct costs:
$80,000, 1996-1998.

7. Parke-Davis, unrestricted educational grant: Closed website to gather outcome data from
physicians prescribing gabapentin for epilepsy and alternative uses. $15,000. 1997.

8. Pfizer, unrestricted grant to study differences between gabapentin and pregabalin on excitatory
amino acid-induced murine seizures, action potential firing frequency and kainate-induced neuronal
death of cultured spinal cord neurons. $26,000. 2002.

9. Multiple small grants from pharmaceutical companies.
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M.J. McLean

PROFESSIONAL ACTIVITIES:

INTRAMURAL:

1. Interviewer, Medical School applicants, 1987-.

2. Steering Committee Neuroscience Program and Neuroscience Training Grant, 1987.

3. Organizer and speaker in symposium, "The Diagnosis and Therapy of Refractory Seizures",
sponsored by the Department of Neurology and supported by Abbott Laboratories. Nationaily and
internationally known guest speakers included Dr. B.J. Wilder, Prof. of Neurology and Neuroscience,
Univ. of Florida and Chief of Neurology, VAMC Gainesville, FL; Dr. A.V. Delgado-Escueta, Professor
of Neurology, and Director, Comprehensive Epilepsy Program, UCLA Schoo! of Medicine and VA
Southwest Regional Epilepsy Center, VAMC Wadsworth, Los Angeles, CA; Dr. A.R. Wyler, Prof. of
Neurosurgery and Anatomy and Director of EpiCare Center, Univ. of Tennessee, Memphis, TN; Dr.
W.E. Dodson, Prof. of Pediatrics and Neurology, Washington Univ., St. Louis, Mo.; and, Dr. M.J.
McLean, Asst. Prof. of Neurology, Vanderbilt Univ. Med. Ctr., Nashville, TN. March 5, 1988.

4. Co-investigator: Multicenter double-blind clinical trials of the anticonvulsant compound
GABAPENTIN, sponsored by Parke-Davis Pharmaceuticals. Ended 1993.

5. Co-investigator: Multicenter open label clinical trials of the anticonvulsant compound
GABAPENTIN, and extension study. Ended 1993.

6. Co-investigator: Multicenter open label add-on clinical trials of the anticonvulsant, FELBAMATE;
sponsored by Wallace Laboratories. Ended 1992.

7. Co-investigator: Multicenter double-blind add-on clinical trials of the anticonvulsant,
TOPIRAMATE; sponsored by McNeill Pharmaceutical. Ended 1995.

8. Co-investigator: Multicenter clinical trials of the anticonvulsant phenytoin pro-drug,
PHOSPHENYTOIN; sponsored by Parke-Davis Pharmaceuticals. Ended 1995.

9. Organizer of a symposium, held 3/28/92 in Nashville, "Advances in the Treatment of Epilepsy",
sponsored by the Department of Neurology and supported by Parke-Davis Pharmaceuticals.
Nationally and internationally known guest speakers include: Dr. Frank Morrell, Prof. of Neurology and
Councillor to the American Epilepsy Society, Rush-Presbyterian Hospital, Chicago, IL - Presurgical
Evaluation and Special Procedures; Dr. B.J. Wilder, Prof. of Neurology and Neuroscience, Univ. of
Florida and Chief of Neurology, VAMC Gainesville, FL; Dr. Allan Hauser, Professor of Neurology,
Columbia Univ., New York - Epidemiology of Epilepsy, Pregnancy and Epilepsy; Dr. Kimford Meador,
Assoc. Prof. of Neurology, Medical College of Georgia, Augusta, GA - Epilepsy and Cognition; Dr.
Bassel Abou-Khalil, VUMC - Unusual Epileptic and Pseudoepileptic Spells; Dr. Bennett Blumenkopf,
VUMC - Surgery for Epilepsy; Dr. Gerald Fenichel, VUMC - Genetic Epilepsies; Dr. Michael McLean,
VUMC - Epiieptogenesis.

11. Co-investigator: Multicenter clinical trials of the anticonvulsant, TIAGABINE; sponsored by Abbott
Pharmaceuticals. Completed 1997.

12. Co-investigator: Multicenter clinical trials of the anticonvulsant LAMOTRIGIN E; sponsored by
Burroughs Wellcome Pharmaceuticals. Completed 1996.

13. Co-investigator: Multicenter clinical trials of the anticonvulsant VIGABATRIN; sponsored by
Marion Merrill Dow.

14. Principal investigator: Use of Magna Bloc therapy in felieving cumulative trauma-related wrist pain.
IRB Record No. 6404, approved 10.18.93, funded by 1995. Discontinued because of closure of the
knitwear plant at which the study was in progress, 1996. Monitoring by a Scientific Oversight
Committee appointed by Dean Chapman, chaired by Joel Hardman, Ph.D.
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15. Principal investigator: Effect of the magnetic field produced by Magna Bloc™ on the response to
intradermal injection of capsaicin. IRB approved.

16. Co-investigator: Multicenter clinical trials of the anticonvulsant LOSIGAMONE; sponsored by
Marion Merrill Dow. IRB approved, in progress.

17. Co-investigator: Multicenter clinical trials of the anticonvulsant Lo-59: sponsored by UCB Pharma
(Belgium). IRB approved, in progress. .

18. Pharmacy and Therapeutics Committee, DVAMC Nashville, 1993-1996; advisor on CNS Drugs.
19. Director, Neuromagnetics Research (1987-present).

20. Site Principal Investigator: A fifteen week, randomized, double-blind, placebo-controlled, parallel-
group, multicenter study of Neurontin (Gabapentin) for efficacy and quality of life in patients with
paintful diabetic peripheral neuropathy. 2002-2003.

21. Vanderbilt IRB: Data Safety Management Boards for projects of two members of the Vanderbilt
Psychiatry Dept., 2003-present.

22. Vanderbilt IRB, Health Science 3 Committee, 2005-2006.

EXTRAMURAL:

1. Ad hoc reviewer for peer-reviewed journals: Epilepsia, Neurology, Archives of Neurology,
Southern Medical Journal, European Journal of Pharmacology, Epilepsy Research,
Neuropharmacology, Brain Research, Bioelectromagnetics.

2. Site visitor, Neurological Disorders Program Project "B" Committee, National Institutes of
Neurological and Communicative Disorders and Stroke, 1986.

3. Lecturer, Merritt-Putnam National Speakers Bureau, an educational service of Parke-Davis
Pharmaceuticals, 1987-present.

4. Lecturer, CIBA-Geigy Lecture Series: Topics related to clinical and basic aspects of anticonvulsant
drug therapy, 1986.

5. Ad hoc Consultant, Merz + Co., GmbH + Co., Frankfurt Germany: Potential role of memantine as
an anticonvulsant drug.

6. Ad hoc Consultant, Fisons Pharmaceuticals: Cellular mechanisms of action of the anticonvulsant
compounds FPL 12924AA, FPL 12495 and FPL 13950.

1. Ad hoc Consultant, Parke-Davis Pharmaceuticals: Cellular mechanisms of action of Gabapentin.

8. Ad hoc Consultant, CIBA-Geigy Pharmaceuticals: Cellular mechanisms of action of oxcarbazepine
and other anticonvulsant compounds.

9. Anticonvulsant Advisory Panel, Parke-Davis Pharmaceuticals, 1991- 1993.
10. Scientific Program Committee, American Epilepsy Society, 1992.
11. Chairman, sessions on anticonvulsant drugs, AES, 1992, 1995, 1996.

12. Parke-Davis International Epilepsy Speakers Bureau, 1993- present.
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13. Ciba-Geigy Speakers Bureau, 1993- present.

14. Lecturer, satellite symposium on Advances in the treatment of epilepsy: anticonvulsants,
antiepileptics and neuroprotectants. American Epilepsy Society Meeting, December 8, 1993.

15. Ad Hoc reviewer, Neurological Disorders Program Project Review A Committee, 1994-1995.
16. Member, Long Range Planning Committee, American Epilepsy Society, 1997.

17. Member, Corporate Advisory Committee, American Epilepsy Society, 1997.

18. Designer, CME course of the Bioelectromagnetics Society for 1999 annual meeting.

19. Scientific Program Committee member and CME coordinator for Bioelectromagnetics Society,
2000. .

20. Ad Hoc Consultant, Xenoport, re: freely bioavailable gabapentin derivatives, 2002.

21. Chair, Plenary Session on Biomedical Applications of Magnetic Fields. Bioelectromagnetics
Society annual meeting, Montreal, Canada, 2002.

22. Elected to Board of Directors of the Bioelectromagnetics Society, June 2003.

23. Member of Data Safety Monitoring Board for Xenoport, Inc., re: clinical trials of XP13512, 2005-
2007.

24. Chair, Data Safety Monitoring Board for Vernalis Protocol V3381-2DPNP01, 2006-2007.

25. Chair and Designer, Winter Conference of the Bicelectromagnetics Society, Washington DC,
February 9, 2007.

26. Chair, Scientific Program Committee for the 30th Annual Meeting of the Bioelectromagnetics
Society, San Diego CA, June 8-12, 2008.

27. Chair, Data Safety Monitoring Board for Vernalis Protocol V3381-2DPNP-02 study1, 2008-present,

ACADEMIC/PROFESSIONAL HONORS:
1. NIH Training Grant/Medical Scientist Training Program, 1971-1978.

2. NiINCDS Teacher investigator Development Award, activated 7-1-83. Sponsored by Robert L.
Macdonald, M.D., Ph.D., Professor of Neurology and Physiology, Dept. of Neurology, University of
Michigan Medical Center.

3. NINCDS Clinical Investigator Award, activated 12-1-85. Sponsored by John Oates, M.D.,
Professor and Chairman, Dept. of Medicine; Director and Joe and Morris Werthan Professor of
Investigative Medicine, Division of Clinical Pharmacology; and Professor of Pharmacology.

4. Mallinckrodt Scholar, 1985-1988.
5. Rector's Medal, University of Lublin, Poland. For international collaboration in the study of

antiepileptic drugs. Conferred by Prof. Dr. Zdislaw Kleinrok, Rector of the Medical School and
Chairman of Pharmacology, 6-12-89. ,
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6. VA Merit Review Award, Different sodium currents in subtypes of sensory neurons in vitro. Oct. 4,
1990 to Sept. 30, 1993.

7. Grant from the Holcomb Medical Research Institute to study cellular mechanisms of action of
magnetic fields, 1990-present.

8. Scientific Program Committee of the American Epilepsy Society, 1992.

9. Invited speaker, Symposium on "Experience and future role of TRILEPTAL {oxcarbazepine) in the
treatment of epilepsy", organized by Dr. Frederick Andermann, Prof. of Neurology and Pediatrics, The
Neurological Institute, Montreal, Canada. A satellite meeting of the International Epilepsy Congress,
Oslo, Norway, July 3, 1993.

10. Invited chairperson, Update on Epilepsy: advances in pharmacology and prognosis. Organized by
Prof. Lars Carlson, Karolinska Institute. Stockholm, Sweden, Oct. 2-3, 1993.

11. Lecture invited by Dr. Greg Holmes, American Epilepsy Society, 1993, lecture on Mechanisms of
Action of Antiepileptic Drugs in symposium on Advances in the Treatment of Epilepsy:
Anticonvulsants, Antiepileptics and Neuroprotectants.

12. Faculty invited by Dr. Elaine Wyllie, lecture on Gabapentin for American Epilepsy Society, 1994
Annual Course on New Developments in Antiepileptic Drug Therapy.

13. Ad hoc consultant to the Antiepileptic Drug Development Program, Epilepsy Branch, NINDS/NIH.
14. Ad hoc reviewer, Neurological Disorders Program Project Review A Committee, 1994-1996.

15. Co-Principal Investigator/Advisory Board for the US multicenter phase IV Study of Neurontin:
Titration to Effect and Profile of Safety (STEPS), sponsored by Parke-Davis. .

16. Over 300 invited talks for grand rounds at other universities and for CME lectures at non-
academic institutions.

17. Invited lecturer, Annual Meeting of the Swiss Epilepsy Society, Lucerne, Switzerland, March 14,
1997: Gabapentin.

18. invited lecturer, Bethel/Cleveland Clinic Symposium, Bielefeld, Germany, April 23-27, 1997:
* New Mechanisms of Old Antiepileptic Drugs (lecture).
+ Is Gabapentin a first line drug? - PRO (debate).
* Glutamate (workshop).

19. Invited lecturer, 2nd joint meeting of the Danish Epilepsy Society and the Danish Society for
Neuroscience, Sonderborg, Denmark, May 4-6, 1997:
+ Antiepileptic Drugs: Bench to Bedside (lecture).
* Anticonvulsant efficacy of a static magnetic field:
evidence from cellular and animal models. (lecture).

20. Working Group on Biological Effects of Static and ELF Electrical and Magnetic Fields and Related
Health Risks, sponsored by the International Commission on Non-ionizing Radiation Protection of the
World Health Organization, 1997. .

21. Invited lecturer, Annual Meeting of the American Epilepsy Society, San Diego, CA, 12/97:
“Mechanisms of action of the new antiepileptic drugs.”

22. Participating Investigator, VA Cooperative Study #428, “Treatment of Seizures in the Elderly
Population.
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M.J. McLean

23. Study Design Coordinator and Medical Director for multicenter placebo-controlled trial of a
magnetic device to treat chronic pain as part of a PMA submission to the FDA.1999-present.

24. Invited Lecturer: International Symposium of Broadening the Uses of Antiepileptic Drugs, Chair
Pierre Jalon, MD. Montreux, Switzerland, June 4, 1999. Lecture on, “Management of Convulsive
Disorders with the Newer AEDs: Current Review.”

24. Invited Lecturer, Merritt-Putnam Symposium, Chaired by Martha Morrell, MD. European Epilepsy
Congress, Prague, Czech Republic, September 11, 1999. “Rationale for Multiple Uses of Antiepileptic
Drugs.”

25. Invited Lecturer: 12" Portugese Congress on Epilepsy, Parke-Davis Sponsored satellite
symposium: The Vanguard of Investigations in Epilepsy: Gabapentin and Phosphenytoin, Dr. Jose
Pimentel Chair, Lisbon, Portugal, March 16, 2000. Lecture on, “Optimizing the Efficacy of
Gabapentin.” .

26. Invited Lecturer, Merritt-Putnam Symposium, chaired by Dr. David Chadwick. European Epilepsy
Congress, Florence, Italy , September 9, 2000. Lecture on, “Recent Advances in AED Therapy, Are
We Progressing?”

27. Invited Lecturer: 24" International Epilepsy Congress, Novartis-sponsored Symposium, Buenos
Aires, Argentina, May 15, 2001. Lecture , “ From anticonvulsant to multiple uses: the
polypharmacology of new antiepileptic drugs.”

28. Invited Lecturer: 16"" World Congress of Neurology, London, Great Britain; Symposium: New
Treatment Strategies, a Focus on Neuropathic Pain, Chair John Scadding, MD, June 21, 2001.
Lecture on, “Treatment of Neuropathic Pain with Antiepileptic Drugs.”

29. Invited Lecturer: 2" World Conference of Chinese Neurologists and 14" Annual Scientific Meeting
of the Hong Kong Neurological Society, Hong Kong China, November 11, 2001. Lecture on:
“Management of Neuropathic Pain: the Role of Anticonvulsant Drugs.”

30. Invited Lecturer: Workshop on New Horizons in the Development of Antiepileptic Drugs, W.
Léscher and D. Schmidt, organizers. An international workshop of basic and clinician scientists
discussing the basis of current and future treatment of epilepsy. November 28-29, 2001. Lecture on,
“Which mechanism(s) of antiepileptic drugs are responsible for their beneficial effects in diverse CNS
disorders?”

31. Invited Lecturer: American Epilepsy Society annual meeting, Glaxo Smith Kline sponsored
symposium on Neuorendocrinological Aspects of Epilepsy. Lecture on, “Melatonin and Seizures.”

32. Keynote Address, Novartis Closed Symposium, Making Connections In Epilepsy, Prague, Czech
Republic, February 28, 2002. Lecture on, “Rationale for Multiple Uses of Antiepileptic Drugs.”

33. Site Principal Investigator, Neurontin for Diabetic Peripheral Neuropathy, Protocol A945-1008,
Pfizer Pharmaceuticals. Study in Progress.

34. National Pharmaceutical Council, Inc. and Joint Commission on Accreditation of Healthcare
Organizations. Editorial Advisory Board Member for NPC/JCAHO-developed Monograph, Pain:
Current Understanding of Assessment, Management and Treatments, 2001.

35. Designer and Solo Speaker on ‘Treating Pain with AEDs: Benefits and Shortcomings’, 2 % hr
Symposium for American Academy of Pain Management Annual Meeting, Reno, Nevada. Sponsored
by Novartis. September, 2002.

36. Lecturer, Mechanistic Rationale for Combination Therapy in Neuropathic Pain. 5 International
Conference on Mechanisms and Treament of Neuropathic Pain. Sponsored by University of
Rochester School of Medicine and Dentistry. November, 2002.
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M.J. McLean

37.. Board of Directors of the Bioelectromagnetics Society, June 2003-2006.

38. Advisory Board Member, American Society of Pain Educators, re: Guidelines for the Treatment of
Painful Diabetic Neuropathy, 2005.

39. Invited Lecturer, American Academy of Pain Management, 16" Annual Clinical Meeting, Sept. 22-
25, 2005. Topic: Magnetics - Research and Therapeutics.

PUBLICATIONS:

Journal articles.
1. McLean M.J. and Sperelakis N.: Rapid loss of sensitivity to tetrodotoxin by chick ventricular
myocardial cells after separation from the heart. Exp. Cell Res., 86:351-364, 1974.

2, McLean M.J., Shigenobu K. and Sperelakis N.: Two pharmacological types of cardiac slow Na+
channels as distinguished by verapamil. Eur. J. Pharmacol., 26:379-382, 1974.

3. McLean M.J., Lapsley R.A., Shigenobu K., Murad F. and Sperelakis, N.: High cyclic AMP levels in
young chick embryonic hearts. Develop. Biol., 42:196-201, 1975.

4. McLean M.J., Renaud J.-F., Niu M.C. and Sperelakis N.: Messenger RNA induction of fast sodium
ion channels in cultured cardiac myoblasts. Science, 191:297-299, 1976.

5. Josephson I., Renaud J.-F, Vogel S.M., McLean M.J. and Sperelakis N.: Mechanism of the
histamine-induced positive inotropic action in cardiac muscle. Eur. J. Pharmacol., 35:2933-298. 1976.

6. McLean M.J. and Sperelakis N.: Retention of fully differentiated electrophysiological properties of
chick embryonic heart cells in culture. Develop. Biol., 50:134-151, 1976.

7. Freer R.J., Pappano A.J., Peach M.J., Bing K.T., McLean M.J., Vogel S.M. and Sperelakis N.:
Mechanism of action of angiotensin II on isolated cardiac muscle. Circulation Res., 39:178-183, 1976.

8. McLean M.J. and Sperelakis N.: Electrophysiological recordings from spontaneously contracting
reaggregates of cultured vascular smooth muscle cells from chick embryos, Exp. Cell Res., 104:309-
318, 1977.

9. McLean M.J., Renaud J.-F., Niu M.D. and Sperelakis N.: Membrane differentiation of cardiac
myoblasts induced in vitro by RNA-enriched extracts from adult hearts. Exp. Cell Res., 110:1-14,
1977.

10. McLean M.J., Renaud J.-F. and Sperelakis N.: Cardiac-like action potentials recorded from
spontaneously-contracting structures induced in post-nodal pieces of chick blastoderm exposed to an
RNA-enriched fraction from adult heart. Differentiation, 11:13-17, 1978.

11. McLean M.J., Pelleg A. and Sperelakis N.: Electrophysiological recordings from spontaneously
contracting reaggregates of cultured smooth muscle cells from guinea pig vas deferens. J. Cell Biol.,
80:539-552, 1978.

12. McLean, M.J. and Sperelakis, N.: Absence of low-resistance connections between myocardial
Cells in cultured spherical reaggregates. J. Membrane Biol., 57:37-50, 1980.

13. McLean M.J., Brennan R., Hughes J., Korzeniowski O.M., deSouza M.A., Araujo N.B., Benevides
T. and Guerrant R.L.: Etiology of childhood diarrhea and oral rehydration therapy in northeastern
Brazil. Bull. Pan. Am. Health Organ., 15:318-326, 1981.
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M.J. McLean

14. Macdonald R.L. and McLean M.J.: Cellular bases of barbiturate and phenytoin anticonvulsant
drug action. Epilepsia, 23:S7-S18, 1982.

15. Wikswo J.P., Barach J.P., Gundersen S.C., McLean M.J. and Freeman J.A.: First magnetic
measurements of action currents in isolated cardiac Purkinje fibers. || nuovo Cimiento, 2:368-378,
1983.

16. McLean M.J. and Macdonald R.L.: Multiple actions of phenytoin on mouse Spinal cord neurons in
cell culture. J. Pharmacol. Exp. Therap., 227:779-789, 1983.

17. Skerritt J.H., Werz M.A., McLean M.J. and Macdonald R.L.: Diazepam and its anomalous p-
Chloro-derivative Ro 5-4864: Comparative effects on mouse neurons in cell culture. Brain Res.,
310:99-105, 1984.

18. McLean M.J., Gebarski S., Van der Spek A. and Goldstein G.: Response of moya-moya disease
to verapamil. Lancet, p. 103-104, 1985.

19. McLean M.J., Gebarski S.S., Van der Spek A, and Goldstein G.: Treatment of acute deficits of
moya-moya disease with verapamil. Annals Acad. Med., Singapore, 14:65-70, 1985.

20. McLean M.J. and Macdonald R.: Cellular mechanistic bases for classification of Clinically useful
anticonvulsant drugs. Annals Acad. Med., Singapore, 14:128-136, 1985.

21, Macdonald R.L., McLean M.J. and Skerritt J.H.: Anticonvulsant drug mechanisms of action. Fed.
Proc., 44:2634-2639, 1985.

22. McLean M.J. and Macdonald R.L.: Sodium valproate, but not ethosuximide, produces use- and
voltage- dependent limitation of high frequency repetitive firing of action potentials of mouse central
neurons in cell culture. J. Pharmacol. Exp. Therap., 237:1001-1011, 1986.

23. McLean M.J. and Macdonald R.L.: Carbamazepine and 10,11-epoxy carbamazepine: Use- and
voltage- dependent limitation of rapidly firing action potentials of mouse central neurons in cell culture.
J. Pharmacol. Exp. Therap., 238: 727-739, 1986.

24. Macdonald R.L. and McLean M.J.: Mechanisms of anticonvulsant drug action.
Electroencephalography (suppl. 39):200-208, 1987.

25. McLean M.J.: In vitro electrophysiological evidence predicting anticonvulsant efficacy of
memantine and flunarizine. Polish J. Pharmacol. Pharm., 39:81-93, 1987.

26. Gupta R.C., McLean M.J. and Dettbarn W.-D.: Protection against nerve agent-induced central
and peripheral toxicity. Proc. of the 6th Medical Chemical Defense Bioscience Review: pp. 473-477,
1987.

27. McLean M.J. and Macdonald R.L.: Limitation of high frequency repetitive firing of action
potentials of spinal cord neurons in cell culture by anticonvulsant benzodiazepines. J. Pharmacol.
Exp. Therap., 244:1-7, 1988.

28. McLean M.J., Bennett P.B. and Thomas R.M.: Subtypes of dorsal root ganglion neurons, based
on different inward currents. Molec. Cell. Biochem., 80:95-107, 1988.

29. Bromberg, M.B., Junck, L., Gebarski, S.S., McLean, M.J. and Gilman, S.: The Marinesco-Sjégren

syndrome examined by computed tomography, magnetic resonance and 18F.2.fluoro-2-deoxy-d-
glucose and positron emission tomography. Arch. Neurol., 47:1239-1242, 1990.
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